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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DEKA INVESTMENT GMBH,                        §
Individually and on Behalf of All Others     §
Similarly Situated,                          §
                                             §
                           Plaintiffs,       §
                                             §
      v.                                     § Civil Action No. 3:15-cv-02129-K
                                             §
SANTANDER CONSUMER USA                       § CLASS ACTION
HOLDINGS INC., et al.,                       §
                                             §
                           Defendants.       §

                  ORDER APPROVING PLAN OF ALLOCATION

      This matter having come before the Court on January 12, 2021, on Lead

Plaintiffs’ motion for approval of the Plan of Allocation in the above-captioned action

(Doc. No. 254); the Court having considered all papers filed and proceedings had herein

and otherwise being fully informed in the premises;

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     This Order incorporates by reference the definitions in the Stipulation of

Settlement dated July 28, 2020 (the “Stipulation”), and all capitalized terms used, but

not defined herein, shall have the same meanings as set forth in the Stipulation.

      2.     Pursuant to and in full compliance with Rule 23 of the Federal Rules of

Civil Procedure, this Court hereby finds and concludes that due and adequate notice was

directed to all persons who are Class Members who could be identified with reasonable

effort, advising them of the Plan of Allocation and of their right to object thereto, and a

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full and fair opportunity was accorded to all persons and entities who are Class Members

to be heard with respect to the Plan of Allocation.

      3.      The Court finds and concludes that the formula for the calculation of the

claims of Authorized Claimants which is set forth in the Notice of Pendency and

Proposed Settlement of Class Action (the “Notice”) sent to Class Members provides a

fair and reasonable basis upon which to allocate the proceeds of the Net Settlement

Fund established by the Stipulation among the Class Members, with due consideration

having been given to administrative convenience and necessity.

      4.      This Court finds and concludes that the Plan of Allocation, as set forth in

the Notice, is, in all respects, fair and reasonable and the Court approves the Plan of

Allocation.

      SO ORDERED.

      Signed on January 12th, 2021.


                                         ______________________________________
                                         ED KINKEADE
                                         UNITED STATES DISTRICT JUDGE




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